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 8                                    UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11    UNITED STATES OF AMERICA,                         No. 2:17-CR-00082-KJM
12                       Plaintiff,
13           v.                                         ORDER
14    JOHN ANTHONY AYON,
15                       Defendant.
16

17                  On January 7, 2019, defendant John Anthony Ayon requested a court-ordered

18   mental health evaluation to determine his competency to stand trial under 18 U.S.C. § 4241(a).

19   The government did not object. ECF No. 35. The court committed defendant to the custody of

20   the U.S. Bureau of Prisons for a psychiatric and/or psychological examination. Order, ECF No.

21   37. The Bureau of Prisons returned its forensic evaluation of defendant on April 9, 2019. ECF

22   No. 49. Defendant’s counsel filed a competency hearing brief in which he urged the court to hold

23   the defendant incompetent to stand trial. ECF No. 62. Concurrently, he filed a request to seal,

24   ECF No. 61, report of examining neuropsychologist Dr. John Wicks, PhD, ECF No. 63, report of

25   BOP forensic psychologist Dr. Samantha Shelton, Psy.D., ECF No. 64, and counsel’s own

26   declaration, ECF No. 65. Given that Dr. Shelton referenced defendant’s email communications

27   with third parties, the court directed the emails be provided for in camera review; the court

28   received the emails, which are voluminous, on October 16, 2019. See ECF No. 102. The court
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 1   shared the emails, subject to a confidentiality restriction, with both counsel after a status
 2   conference on September 30, 2019. See ECF No. 77. The parties then argued their respective
 3   positions at a further status on October 28, 2019. ECF No. 90.
 4                  Having reviewed the evidence and the filings in this matter, the court denies
 5   defendant’s request to have him declared incompetent to stand trial.
 6      I.      FACTUAL BACKGROUND
 7                  Defendant John Ayon was arrested by a San Joaquin County Sheriff’s Deputy on
 8   May 22, 2017. Compl., ECF No. 1 at 3. Deputy George Negrete allegedly observed him driving
 9   a GMC Acadia SUV that was pacing a Chevrolet Camaro, which Deputy Negrete believed
10   indicated possible narcotics trafficking. Id. Deputy Negrete pulled Ayon over for a
11   nonoperational brake light and failing to maintain his lane. Id. After a drug detection dog alerted
12   on an exterior sniff of the vehicle, a search of the trunk area yielded a duffel bag with
13   approximately 40 pounds of methamphetamine in cellophane wrapped bundles. Id. at 4. Ayon
14   was arrested. Id. Another deputy arrested the driver of the Camaro, Raul Rikards Carillo, and
15   found two pounds of methamphetamine in his car. Id. at 4-5. Both men were charged with, inter
16   alia, violations of 21 U.S.C. § 841(a)(1), possession of methamphetamine with intent to
17   distribute. Superseding Indictment, ECF No. 19.
18                  After defense counsel interacted with Ayon over the course of a few months,
19   counsel retained neuropsychologist Dr. John Wicks to evaluate Ayon’s mental competency to
20   stand trial. Minutes for Status Conference, ECF No. 32; Order for Mental Examination, ECF No.
21   37. This court ordered the U.S. Bureau of Prisons to examine Ayon to determine whether he was
22   mentally incompetent to stand trial. Id. Forensic psychologist Dr. Samantha Shelton evaluated
23   Ayon at the Metropolitan Detention Center in Los Angeles (“MDC”) and issued a report on April
24   8, 2019. Report of Dr. Shelton, ECF No. 49. As noted, the court ordered the MDC to produce
25   the emails between Ayon and third parties that Dr. Shelton relied on in her report. Order, ECF
26   No. 69. The MDC produced the emails in camera to the court, and the court provided the emails
27   to counsel. Emails, ECF No. 102.
28   /////
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 1      II.       LEGAL STANDARD
 2                    An individual is incompetent to stand trial if he suffers from a mental disease or
 3   defect that renders him (1) unable to understand the nature and consequences of the legal
 4   proceedings against him; or (2) unable to assist properly in his defense. 18 U.S.C. § 4241(a); see
 5   also Drope v. Missouri, 420 U.S. 162, 171 (1975). The test for a defendant’s competency to
 6   stand trial is whether he has sufficient present ability to consult with his lawyer with a reasonable
 7   degree of rational understanding and whether he has a rational and factual understanding of the
 8   proceeding against him. Dusky v. United States, 362 U.S. 402 (1960). The government has the
 9   burden of showing a defendant is competent to stand trial by a preponderance of the evidence.
10   United States v. Hoskie, 950 F.2d 1388, 1392 (9th Cir. 1991).
11      III.      DISCUSSION
12                    The defense neuropsychologist, Dr. Wicks, performed a battery of tests on Ayon
13   while Ayon was housed at the Sacramento County Jail. Dr. Wicks summarizes the result of his
14   testing as follows:
15             In general, the examinee has problems with basic attention, concentration, short-
               term verbal memory, verbal abstraction, and verbal learning. His impairments in
16             executive functioning include verbal abstraction abilities, sequencing information,
               shifting efficiently between overlearned sets of information, and novel problem
17             solving with information feedback. Such problems are frequently associated with
               poor judgment and ability to function well in everyday life.
18

19   Report of Dr. John Wicks (“Wicks Report”), ECF No. 63 at 21.
20                    According to Dr. Wicks’ report, Ayon’s cognitive abilities display a split between
21   metrics of verbal intelligence, which are quite low, and nonverbal metrics, which are average or
22   even above average. For instance, Ayon’s Wechsler Adult Intelligence Scale-Fourth Edition
23   (WAIS-IV) Composite Score for Verbal Comprehension is 66, “Extremely Low/Mentally
24   Retarded” and his Composite Score for Perceptual Reasoning is 113, “High Average/Bright
25   Normal.” Wicks Report at 6. Dr. Wicks also diagnoses Ayon with Attention
26   Deficit/Hyperactivity Disorder, Specific Learning Disorder, Stimulant Use Disorder, and General
27   Personality Disorder “with avoidant and passive-dependent traits in addition to social
28   immaturity.” Wicks Report at 24.
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 1                  Dr. Shelton performed her own evaluation of Ayon on order of the court on
 2   January 31, 2019, and produced a report dated April 8, 2019. Report of Dr. Samantha Shelton,
 3   Psy.D. (“Shelton Report”), ECF No. 64. She relied in part on recorded phone calls and
 4   intercepted emails between Ayon and third parties in producing her report. Shelton Report at 5-6.
 5   She concluded his emails “were not indicative of an individual with significant deficits with
 6   reading, comprehension, and writing, and he was able to engage in reciprocal, logical, and goal-
 7   orientated conversation.” Shelton Report at 8. According to Dr. Shelton’s report, “Mr. Ayon did
 8   not participate in the assessment to determine whether he understood the nature and consequences
 9   of the court proceedings against him.” Shelton Report at 13. Nonetheless, Dr. Shelton was able
10   to conduct a general assessment of Ayon’s psychological functioning not directed toward the
11   legal standard for competence and a full review of his emails. Dr. Shelton concluded that Ayon
12   “appears fully competent to understand the nature and consequences of the court proceedings
13   against him, and to properly assist counsel in his defense.” Id. at 14.
14                  The emails show Ayon likely did not participate in Dr. Shelton’s direct evaluation
15   of his competency out of frustration and obstinacy. Before his examination with Dr. Shelton, he
16   sent an email to Letitia Ruiz, the mother of his child, in which he states, “they had 2 months i
17   quit, its over, im done, im waiting to talk to my phyc [sic] to mandar todo esto ala verga [roughly
18   translated “to f--- off”] its ovio [obvious] ima do some time now.” ECF No. 102 at 282
19   (punctuation and spelling in original). In another email to Ruiz, Ayon states, “my psych came
20   today to talk/test me. i told her i’m done, im done with all this. you guys had 2 months to test me.
21   its obvious im doing time now.” ECF No. 102 at 169 (punctuation and spelling in original).
22                  Ayon references the criminal proceedings in his emails only obliquely. The emails
23   do suggest his limited understanding of the proceedings, on the one hand. He states in an email to
24   Mona Ayon, apparently his sister, that he thinks he will be receiving a five-year sentence. She
25   asks, “How do you know it’s five years ?” He replies, “i dnt know but that’s wat im asuming or it
26   could be more[.]” ECF No. 102 at 390 (punctuation and spelling in original). The charges
27   against Ayon in the superseding indictment, however, carry mandatory minimum exposures of at
28   least ten years. Superseding Indictment at 1-2 (Counts One and Two). On the other hand,
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 1   perhaps Ayon is referencing a plea deal tendered to him for his consideration before the court
 2   ordered the determination of his competency. See, e.g., ECF 33 (government counsel
 3   representing at status that plea deals being extended shortly).
 4                  On another occasion, Ayon’s reply to his sister inquiring about the status of his
 5   case is “idk i just dont all they be talking about is laws and shit.” ECF No. 102 at 525
 6   (punctuation and spelling in original). This missive does not indicate Ayon made an earnest
 7   effort to understand the proceedings and failed, but rather that he is not attempting at all. Ayon’s
 8   counsel, however, argues that he “does not understand core criminal justice concepts such as his
 9   rights, the role of the parties in the case, the nature of conspiracy law and the plea agreement
10   tendered to him as part of the plea agreement process.” Competency Hearing Brief, ECF No. 62
11   at 4. The government takes the opposite position. At argument, neither defense counsel nor the
12   government pointed to any emails in particular, but rather based their positions on the totality of
13   the inferences to be drawn from the emails, reading them all together.
14                  In United States v. Frank, the court found the defendant, a Navajo who lived in an
15   isolated part of an Indian reservation, mentally competent to stand trial despite his limited
16   understanding of the proceedings. 933 F.2d 1491 (9th Cir. 1991). Experts on both sides testified
17   Frank did not understand his constitutional rights. Id. at 1496. The court found that the
18   defendant’s lack of comprehension of his rights was due not to his depression or “low average”
19   intelligence, but his lack of education in the American criminal justice system. Id. at 1497. The
20   Ninth Circuit agreed with the district court that the defendant’s lack of understanding was “not so
21   much the result of mental incompetency as cultural differences.” Id.
22                  In United States v. Glover, the defendant’s Wechsler Adult Intelligence Test score
23   was 67, placing him in the bottom 1 percent of society. 596 F.2d 857, 864 (9th Cir. 1979). He
24   needed proceedings explained to him in simple language by his counsel. Id. at 867. Nonetheless,
25   the court found him competent to stand trial because he “displayed a good knowledge of the facts
26   surrounding his arrest and had an understanding of the charge against him.” Id.
27                  On the other hand, in Hoskie, cited above, the defendant was incompetent to stand
28   trial where he was unable to understand abstractions like guilt, innocence, or rights. Hoskie, 950
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 1   F.2d at 1392-93. The defense expert spent minutes at a time explaining basic criminal justice
 2   concepts like a jury to the defendant, at which point he would show “a glimmer” of
 3   understanding, but within minutes of the conversation he would again have no understanding at
 4   all. Id. at 1392.
 5                   Similarly, in United States v. Moroyoqui-Gutierrez, a defendant charged with
 6   illegal reentry into the United States after deportation was incompetent to stand trial where expert
 7   testimony, credited by the court, established that he suffered from Delusional Disorder, Grandiose
 8   Type. 602 Fed. Appx. 378, 379 (9th Cir. 2015). The defendant believed he was a prophet who
 9   would be acquitted if the judge “received” the spirit. Id. Because the defendant’s delusions went
10   to the core of his legal defense, the Ninth Circuit affirmed the district court’s determination of
11   incompetency. Id. at 379-80.
12                   The foregoing examples help define the contours of what is sometimes termed the
13   “understand and assist” test. United States v. Clark, 617 F.2d 180, 185 (9th Cir. 1980) (reiterating
14   test). Generally, under this test, an incomplete or simplistic understanding of the proceedings
15   does not preclude competence to stand trial. On the other hand, mental impairments that entirely
16   negate a defendant’s ability to grasp fundamental aspects of the case may destroy competence.
17   As in Frank, 933 F.2d at 1497, it is important to distinguish between an inability to understand
18   and assist and mere ignorance of criminal justice concepts.
19                   Based on the record before the court, it appears Ayon does not have a nuanced
20   understanding of the proceedings against him. However, nuance is not the sine qua non of
21   competence. And here, Ayon’s simplistic understanding of the process does not appear to be due
22   to a mental condition that precludes his ability to understand. On the contrary, his emails show an
23   individual intelligent enough to grasp nuance and complexity in relation to topics that interest
24   him. His emails with the mother of his child show his ability to track a complex relationship,
25   draw logical inferences, and recall past events in detail. See, e.g., ECF No. 102 at 2 (email asking
26   for clarity on future of relationship with mother of his child). His emails about prison culture
27   also show his understanding of social dynamics. ECF No. 102 at 451 (explaining significance of
28   “paisa” tattoo). Against this backdrop, Ayon’s lack of understanding appears to stem from a
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 1   willful ignorance of the criminal justice system, as opposed to an inability to understand and
 2   assist in his own defense.
 3                  The reports of both psychological evaluators and the emails do depict Ayon as an
 4   individual resigned to what he perceives as his fate. But resignation is not equivalent to
 5   incompetence. It appears to the court, on a full review of the record, that Ayon’s unhelpfulness in
 6   sessions with his counsel and lack of engagement with court proceedings is due to his having
 7   decided not to be helpful, as opposed to any incompetence. Although Ayon’s low verbal
 8   intelligence scores are troubling in the context of a court process essentially driven by language,
 9   Ayon does have sufficient command of language to communicate by email when he wants to.
10   Thus, he appears to have the ability to both understand and assist his counsel to the degree
11   required for competency to stand trial.
12      IV.     CONCLUSION
13                  For the foregoing reasons, the court denies John Anthony Ayon’s motion to be
14   declared incompetent to stand trial.
15                  IT IS SO ORDERED
16   DATED: December 18, 2019.
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                                                        UNITED STATES DISTRICT JUDGE
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